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                   SUBJECT TO PROTECTIVE ORDER ENTERED AUGUST 24, 2018
                                  ATTORNEYS’ EYES ONLY

                                IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                        Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/




     DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT
                   OF MOTION FOR SUMMARY JUDGMENT




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            Pursuant to Local Rule 56.1, Defendants submit the following statement of undisputed
   material facts in support of their motion for summary judgment:
            1.        Plaintiff Aleksej Gubarev lives in Cyprus, where he moved from Russia in 2002.
   Declaration of Katherine M. Bolger.1 Ex. 1 [Compl.] ¶ 6; Ex. 9 [Gub. Dep.] at 20:21-21:11.
            2.        Plaintiff XBT Holding, S.A. (“XBT”) is incorporated in Luxembourg with its
   principal place of business in Luxembourg. Ex. 18. XBT is the parent holding company for
   Gubarev’s internet hosting business. Ex. 10 [Mishra Dep.] at 30:15-21.
            3.        When the article at issue was published, Webzilla, Inc. was incorporated in
   Florida and had its principal place of business in Texas. Exs. 19-20. Webzilla, Inc. has only one
   Florida employee, who divides his time between Webzilla and his own company, and a “virtual
   address” in Florida in a Regus building. Ex. 12 [Luchian Dep.] at 6:19-21, 7:7-15, 21:11-13.
            4.        “Webzilla” is a brand name, Ex. 10 [Mishra Dep.] at 28:2-29:6, which is used by
   six “Webzilla” companies incorporated around the world, including Plaintiff Webzilla, Inc. Ex.
   41 at 24. Plaintiffs have publicly described Webzilla as a European company, including in their
   public relations responses to the Dossier. See, e.g., Exs. 21, 22. Documents produced by
   Plaintiffs supposedly supporting their damage concern “Webzilla” entities in Europe. See Ex. 23
   at Resp. 6, Exs. 24-26. Plaintiffs lease data centers throughout the world; none are in Florida.
   Ex. 11 [Bezruchenko Dep.] at 29:9-30:21.
            5.        BuzzFeed is a digital media and news company. Ex. 6 [Declaration of Roy
   Cysner] ¶ 2. It is incorporated in Delaware and headquartered in New York City. Id. ¶ 3.
   Defendant Smith is BuzzFeed’s editor-in-chief. Ex. 1 [Compl.] ¶ 1.
            6.        Christopher Steele worked for the U.K.’s Foreign and Commonwealth Office and
   then MI6, the U.K.’s equivalent of the CIA, as one of its leading Russia experts. Ex. 16 [Steele
   Dep.] at 31:11-20, 32:22-33:11; Ex.17 [Fusion Dep.] at 42:7-43:5. Steele then founded Orbis
   Business Intelligence Limited (“Orbis”). Ex. 16 [Steele Depo.] at 18:11-19:22.
            7.        Beginning in the fall of 2015, Fusion GPS, a private research firm headed by
   former Wall Street Journal reporter Glenn Simpson, was retained to conduct research on Donald
   Trump – first by a Republican client, and then by a law firm working for the Democratic
   National Committee. Ex. 17 [Fusion Dep.] at 23:10-25:4, 33:2-36:6, 38:20-40:18, 242:3-243:2.

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     Unless otherwise noted, all exhibits are attached to the Declaration of Katherine M. Bolger
   filed herewith.


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   Fusion retained Orbis as a contractor to investigate business ties between Trump and Russian
   interests. Id. at 46:9-48:19, 54:17-57:1
            8.        Steele received information that Russia was interfering in the election to support
   Trump, and that Russia held compromising information on the candidate. Ex. 1 [Compl.] Ex. 3;
   Ex. 17 [Fusion Dep.] at 49:15-53:3, 64:3-68:7, 74:18-77:19.
            9.        Steele chose to include in the 17 reports he wrote only the information he
   “regarded as credible, and it [was] produced to the best of our knowledge and ability to be
   accurate and true.” Ex. 16 [Steele Dep.] at 91:17-92:11. In making that determination, Steele
   took into account that some sources might try to provide false disinformation. Id. at 66:17-67:6.
   Any information included in his reports was “subject[ed] to scrutiny in respect of this risk” by
   Steele. Id. at 93:9-12, 98:12-101:16; Ex. 17 [Fusion Dep.] at 80:2-81:1.
            10.       Steele is “a longtime FBI source,” with a “multi-year history of credible reporting
   on Russia and other matters, including information DOJ used in criminal proceedings.” Ex. 27
   [Nunes Memo] at 4; Ex. 28 [Schiff Memo] at 6.
            11.       Steele told Fusion that he believed “the information he had collected was of
   urgent national security importance.” Ex. 17 [Fusion Dep.] at 63:1-68:7. In July 2016 Steele
   shared his initial research with FBI agent Michael Gaeta, who Steele had previously assisted in
   the FBI’s investigation of FIFA, the world’s governing soccer body. Ex. 17 [Fusion Dep.] at
   68:8-70:18; Ex. 28 [Schiff Memo] at 3.
            12.       Steele was also an FBI source as he researched the Dossier, until at least the end
   of October 2016. Ex. 28 [Schiff Memo] at 3; Ex. 17 [Fusion Dep.] at 83:12-85:4; Ex. 31.
            13.       In July 2016, the FBI opened an investigation into alleged collusion between the
   Trump campaign and Russia, and that investigative team attempted to corroborate and assess the
   credibility of Steele’s reports. Ex. 28 [Schiff Memo] at 2-3; Ex. 27 [Nunes Memo] at 4-6; Ex. 29
   [March 20, 2017 Comey testimony] at 12.
            14.       Steele also shared his research with Associate Deputy Attorney General Bruce
   Ohr and the State Department. Ex. 27 [Nunes Memo] at 4-6; Ex. 28 [Schiff Memo] at 7.
            15.       In October 2016, the Justice Department (“DOJ”) used information from Steele’s
   reports to help obtain a FISA warrant to conduct surveillance on Carter Page, a Trump advisor.
   Ex. 27 [Nunes Memo] at 4; Ex. 30 at 15-17. In its FISA application, DOJ stated that previously
   Steele’s “reporting has been corroborated and used in criminal proceedings and the FBI assesses


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   [Steele] to be reliable.” Ex. 30 at 15 n.8.
            16.       In October 2016, Steele met again with the FBI in Rome, at the agency’s
   invitation, to discuss his research. Ex. 17 [Fusion Dep.] at 83:13-84:19.
            17.       Around November 1, 2016, the FBI “suspended” its relationship with Steele
   because Steele had spoken to journalists. Ex. 31 at 1; Ex. 27 [Nunes Memo] at 4-5; Ex. 32 at 17
   n.9.
            18.       Steele shared information after the 2016 election with Mr. Ohr, including
   providing all 16 pre-election memoranda to him in late November. Ex. 27 [Nunes Memo] at 5;
   Ex. 17 [Fusion Dep.] at 85:19-87:19.
            19.       The FBI also continued to conduct a “source validation report” to assess Steele’s
   Dossier reports. Ex. 27 [Nunes Memo] at 5.
            20.       Sir Andrew Wood, the former U.K. ambassador to Russia and an informal adviser
   to Orbis, attended the Halifax International Security Forum in November 2016. Ex. 16 [Steele
   Dep.] at 23:22-24:6; Ex. 13 [Kramer Dep.] at 18:24-19:24, 84:7-21.
            21.       So did David Kramer, a Russia expert who had served as the Deputy Assistant
   Secretary of State responsible for Russia, Ukraine, Belarus, and Moldova. Ex. 13 [Kramer Dep.]
   at 11:21-15:11, 75:17-77:11. Kramer was a Senior Director at the McCain Institute for
   International Leadership at Arizona State University. Id. at 16:14-17:1.
            22.       Senator John McCain also attended the Forum, along with his Chief of Staff
   Christopher Brose. Id at 17:20-18:13, 24:19-25:6.
            23.       During the Forum, Wood told Kramer, Senator McCain, and Brose that he was
   aware of information collected by Steele, that suggested there was collusion as well as
   compromising information collected on President-elect Trump. Id. at 22:11-26:18.
            24.       Senator McCain asked Kramer to go to London to meet with Steele, which he did
   on November 28. Id. at 26:19-27:6, 86:23-87:18.
            25.       Kramer read the 16 memos Steele had written, Steele explained his methods, and
   Kramer saw a list of Steele’s sources. Id. at 27:7-33:14. Kramer “was impressed with his
   [Steele’s] knowledge and analysis” and recognized some of Steele’s sources, whom he
   considered to be “serious.” Id. at 88:16-89:10, 89:11-92:14.
            26.       Steele said some information in the memos was verified, while some needed to be
   further corroborated and verified. Id. at 33:15-34:25; Ex. 16 [Steele Dep.] at 101:5-102:8.


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            27.       Steele asked Kramer to give the memos to Senator McCain in the hopes of giving
   the FBI an “additional prod to take this seriously.” Ex. 13 [Kramer Dep.] at 35:14-24, 94:5-95:4;
   Ex. 17 [Fusion Dep.] at 127:15-131:12.
            28.       Kramer obtained the sixteen existing memos from Glenn Simpson. Ex. 17
   [Fusion Dep.] at 132:10-21. On November 30, 2016, Kramer met with Senator McCain and
   Brose, and the Senator reviewed Steele’s reports. Ex. 13 [Kramer Dep.] at 42:23-43:9.
            29.       Kramer told them “Mr. Steele himself seemed to be credible and believable” and
   that if the reports “were true and we did nothing with it history would not look kindly on us.” He
   advised the Senator to share the memos with the FBI and CIA. Id. at 43:16-46:9, 93:9-25.
            30.       Kramer met with Victoria Nuland, the Assistant Secretary of State for Europe and
   Eurasia Affairs, to see if the Dossier “was being taken seriously” Id. at 113:1-114:18. Kramer
   also met with Celeste Wallender, then the Senior Director for Russian Affairs at the National
   Security Council. Id. Each was aware of the Dossier and attested to Steele’s strong reputation.
   Id. at 114:19-117:11.
            31.       On December 9, Senator McCain met with Director Comey, and the FBI received
   from the Senator the first 33 pages of the Dossier that BuzzFeed later published. Ex. 8 [FBI
   Decl.] ¶ 6(b); Ex. 13 [Kramer Dep.] at 43:16-18, 45:4-14, 100:7-102:22. Steele continued to
   receive more information about Trump’s connections to Russia after the election, Ex. 13
   [Kramer Dep.] at 38:5-14, and on December 13, 2016, wrote a final report (Report No. 166)
   which provided more details about the alleged meeting between Michael Cohen and
   representatives of the Russian government, which had been described in previous memos dated
   October 18 and 19. Ex. 16 [Steele Dep.] at 40:7-25; Ex. 17 [Fusion Dep.] at 143:20-144:18; Ex.
   1 [Compl.] Ex. 3 at 30-35.
            32.       Steele applied the same standards to assess the credibility of Report No. 166 as he
   did with everything else he included in the Dossier. Ex. 1 [Compl.] Ex. 3 at 35; Ex. 16 [Steele
   Dep.] at 66:17-67:6, 91:17-92:11, 98:12-101:16.
            33.       Steele did not write Report No. 166 for any client. Ex. 17 [Fusion Dep.] at 41:19-
   42:6; 147:20-150:18. Steele wrote it to give to Senator McCain to pass on to the FBI because he
   “judged it had national security implications for the United States and the West as a whole” and
   he believed Senator McCain was in a position to provide it to Director Comey. Ex. 16 [Steele
   Dep.] at 98:23-99:4, 133:12-136:13; Ex. 17 [Fusion Dep.] at 178:15-179:2.


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            34.       Steele understood Kramer to be “the nominated intermediary of Senator McCain,”
   Ex. 16 [Steele Dep.] at 138:18-139:5, and so he called Kramer and sent Report No. 166 to him,
   again via Fusion, to deliver to Senator McCain. Ex. 13 [Kramer Dep.] at 102:23-105:3, 116:11-
   19; Ex. 17 [Fusion Dep.] at 159:13-160:14.
            35.       Fusion provided it Kramer because it “understood him to be acting as a personal
   representative of Senator McCain for the purpose of delivering these memoranda to Senator
   McCain and on to James Comey of the FBI.” Ex. 17 [Fusion Dep.] at 258:12-19.
            36.       Steele also provided a copy of Report No. 166 to “a senior British national
   security official.” Ex. 16 [Steele Dep.] at 83:9-16.
            37.       Kramer met with Ms. Wallender at the National Security Council and gave her a
   full copy of the Dossier, including Report No. 166. Ex. 13 [Kramer Dep.] at 117:12-118:17.
            38.       Kramer also shared the Dossier with Rep. Adam Kinzinger (R-Ill.) to brief him
   and give him the full 35 pages. Id. at 118:23-121:6, 122:5-7.
            39.       Kramer also met with House Speaker Paul Ryan’s Chief of Staff, John Burks, and
   showed him the full Dossier. Id. at 121:13-122:11.
            40.       The FBI received the full Dossier (including Report No. 166) before it was
   published by BuzzFeed. Ex. 8 [FBI Decl.] ¶ 6.
            41.       On December 6, 2016 President Obama ordered an inter-agency assessment of
   Russian interference in the U.S. election, which included the CIA, FBI and NSA. Ex. 36
   [Gistaro Decl.] ¶¶ 8-10; Ex. 33 [HPSCI Report] at 38-39.
            42.       On January 5, 2017 a classified version of the Intelligence Community
   Assessment (“ICA”) was shared with President Obama. Ex. 36 [Gistaro Decl.] ¶ 10. Attached
   was a two-page synopsis of “allegations derived from a 35 page Dossier”. Id. ¶¶ 11-14, 17; Ex.
   33 [HPSCI Report] at 110 n.47. A public version was released on January 6, 2017. Ex. 37.
            43.       NSA Chief Michael Rogers also considered the two-page summary as “part of the
   overall ICA review/approval Process.” Ex. 33 [HSCPI Report] at 110 n.47.
            44.       On January 5, 2017, Clapper and/or the Directors of the FBI, CIA, and NSA
   briefed President Obama about allegations in the Dossier. Ex. 8 [FBI Decl.] ¶ 6(c); Ex. 33
   [HPSCI Report] at 107.
            45.       On January 6, Director Comey briefed President-Elect Trump on “a summary of
   the Steele Dossier”, and provided him with the two-page synopsis. Ex. 33 [HPSCI Report] at


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   54-55, 104; Ex. 27 [Nunes Memo] at 5-6; Ex. 36 [Gistaro Decl.] ¶¶ 11-14, 17; Ex. 38 [Comey
   Congressional Statement] at 1-2.
            46.       In early January 2017, the FBI applied to renew the FISA warrant regarding
   Carter Page and stated that it continued to find Steele reliable, “notwithstanding the suspension
   of its relationship” with him. Ex. 32 at 17 [FISA Warrant Renewal Application]; Ex. 28 [Schiff
   Memo] at 3.
            47.       In early December 2016, BuzzFeed reporter Ken Bensinger heard from sources
   about reports by Christopher Steele about President-elect Trump and Russia. Ex. 3 [Bensinger
   Decl.] ¶ 10. Bensinger was familiar with Steele and thought he was a source of highly credible
   information. Id. ¶ 11. Ben Smith learned that David Kramer may have a copy. Id. ¶ 14; Ex. 2
   [Smith Decl.] ¶ 9; Ex. 4 [Schoofs Decl.] ¶¶ 6-7.
            48.       On December 29, Bensinger met with Kramer at the McCain Institute. Kramer
   reviewed what he knew about the Dossier. Ex. 13 [Kramer Dep.] at 61:3-63:23; Ex. 3
   [Bensinger Decl.] ¶ 15. Kramer told Bensinger that he took the allegations “seriously” due to
   “Mr. Steele’s bona fides, based on my understanding of Russian behavior under the Putin
   regime, and questions about comments made by [Trump] during the campaign . . .” Ex. 13
   [Kramer Dep.] at 98:3-22, 111:7-14. Bensinger found Kramer to be a serious and credible
   Russia expert. Ex. 3 [Bensinger Decl.] ¶ 17.
            49.       Kramer let Bensinger have a copy of all 17 memos, including Report No. 166.
   Ex. 13 [Kramer Dep.] 61:3-63:23, 73:3-75:10; Ex. 14 [Kramer Dep. Ex. 3]; Ex. 15 [Kramer Dep.
   Ex. 4]; Ex. 7 [Kramer Decl.] ¶ 3.
            50.       Kramer told Bensinger that the document was “sensitive” and that “some of the
   information was unverified.” Ex. 13 [Kramer Dep.] at 63:1-23.
            51.       Kramer also provided copies of the Dossier to other journalists. Id. at 48:11-55:3.
            52.       Bensinger then contacted Mark Schoofs, BuzzFeed’s senior editor in charge of
   investigative reporting. Ex. 4 [Schoofs Decl.] ¶ 7. Schoofs concluded that BuzzFeed should
   investigate a few of the specific allegations in the Dossier that he thought might be possible to
   verify, including those about Michael Cohen’s alleged trip to Prague and the allegations about
   pension payments to Russian emigres. Id. ¶¶ 9-10.
            53.       More than a half-dozen journalists were involved to varying degrees in the
   investigation, including one who traveled to Prague to try to see if any hotel might have a record


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   of Michael Cohen staying there. Id. ¶ 10.
            54.       At that time, BuzzFeed had no plans to publish the Dossier, in whole or in part,
   while it continued investigating. Ex. 2 [Smith Decl.] ¶ 14.
            55.       On January 10, 2017, CNN published a story reporting about the Dossier, the two-
   page synopsis, the Presidential briefings, and that the FBI investigated it. Id. ¶ 15 & Ex. 1.
            56.       After consulting with several BuzzFeed senior editors and Bensinger, Smith
   decided to publish the Dossier at that point after the CNN report was published, within the
   context of the article BuzzFeed published. Id. ¶¶ 16-17.
            57.       When they made that decision, none of the BuzzFeed journalists involved knew
   or had any degree of awareness – let alone a “high degree” – that the allegations about Plaintiffs
   on the Dossier’s last page were false, or harbored “serious doubts” about that. Id. ¶ 22; Ex. 3
   [Bensinger Decl.] ¶ 27; Ex. 4 [Schoofs Decl.] ¶ 14; Ex. 5 [Elder Decl.] ¶ 9.
            58.       The reasons they believed the allegations against Plaintiffs were credible
   included:
            a. Those allegations provided more details about a key allegation in the Dossier – that
                  Russia was behind the hack of the Democratic Party leadership – which had been
                  confirmed by credible public statements by the U.S. government, and which Steele
                  had managed to learn about months before it became public. Ex. 2 [Smith Decl.] ¶
                  19; Ex. 3 [Bensinger Decl.] ¶¶ 22-24; Ex. 4 [Schoofs Decl.] ¶¶ 9, 13; Ex. 5 [Elder
                  Decl.] ¶ 5.
            b. Donald Trump had spent months publicly praising Putin and the Russian government.
                  Ex. 4 [Schoofs Decl.] ¶ 13; Ex. 5 [Elder Decl.] ¶ 5; Ex. 13 [Kramer Dep.] 111:10-12.
            c. The allegations against Plaintiffs related to Michael Cohen’s alleged actions in the
                  Dossier, including setting up payments for persons involved, which was consistent
                  with the “fixer” role he had long performed for Donald Trump. Ex. 2 [Smith Decl.]
                  ¶ 22; Ex. 3 [Bensinger Decl.] ¶ 27; Ex. 4 [Schoofs Decl.] ¶ 14.
            d. The Dossier was written by Christopher Steele, a former British intelligence agent
                  who they understood to have an excellent reputation and “the types of sources who
                  could provide him with credible information” along with “the expertise to evaluate
                  it.” Ex. 3 [Bensinger Decl.] ¶ 11; see also Ex. 2 [Smith Decl.] ¶ 19; Ex. 4 [Schoofs
                  Decl.] ¶ 13.


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            e. Kramer found Steele “a credible and serious person” who believed that, while
                  portions of the Dossier were unverified, “the allegations it contained should be taken
                  very seriously.” Ex. 3 [Bensinger Decl.] ¶¶ 15-16; see also Ex. 2 [Smith Decl.] ¶ 19);
                  Ex. 4 [Schoofs Decl.] ¶ 13; Ex. 13 [Kramer Dep.] at 111:10-12.
            f. Senator McCain had taken the Dossier to Director Comey, which indicated he took
                  the Dossier seriously as well. Ex. 2 [Smith Decl.] ¶ 19; Ex. 3 [Bensinger Decl.] ¶¶ 5,
                  21; Ex. 4 [Schoofs Decl.] ¶ 13.
            g. The FBI was investigating the allegations in the Dossier. Ex. 3 [Bensinger Decl.]
                  ¶ 21.
            h. Senator Harry Reid was likely referring to the Dossier in an October 30, 2016 letter to
                  Director Comey. Ex. 3 [Bensinger Decl.] ¶ 25; see also Ex. 39 [Reid letter].
            i. The Russian intelligence services regularly engage in surveillance of prominent
                  foreign visitors, as described in the Dossier, Ex. 5 [Elder Decl.] ¶ 5, and frequently
                  collect compromising information, or kompromat, in order to gain leverage over
                  potential sources, as described in the Dossier. Id. ¶ 5.
            j. Sergei Invanov was replaced as head of the Russian Presidential Administration in the
                  summer of 2016, shortly after the Dossier reported that he was “angry” about Russian
                  interference in the U.S. election. Ex. 4 [Schoofs Decl.] ¶ 13; Ex. 5 [Elder Decl.] ¶ 5.
            k. Mikhail Kalugin, a Russian diplomat who the Dossier claims was at risk of being
                  exposed for participating in the election interference, was recalled to Russia. Ex. 4
                  [Schoofs Decl.] ¶ 13.
            l. The Dossier’s allegations about Trump advisor Carter Page were consistent with
                  reports about his trip to Moscow. Ex. 2 [Smith Decl.] ¶ 19; Ex. 3 [Bensinger Decl.]
                  ¶ 19; Ex. 4 [Schoofs Decl.] ¶¶ 9, 13; Ex. 5 [Elder Decl.] ¶ 5.
            59.       Notwithstanding his personal views as to the Dossier’s truth, however, Smith
   recognized that those allegations of collusion and compromise were unproven, which could lead
   some readers to reasonably doubt their veracity. Ex. 2 [Smith Decl.] ¶¶ 20-21.
            60.       BuzzFeed published an article entitled These Reports Allege Trump Has Deep
   Ties to Russia (the “Article”), together with the embedded Dossier, at approximately 6:20 pm
   Eastern time on January 10. Ex. 1 [Compl.] Ex. 2-3; Ex. 40.
            61.       The Article stated that “CNN reported Tuesday that a two-page synopsis of the


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    report was given to President Obama and Trump” and included a hyperlink to the CNN story. It
    also stated that CNN reported that Senator McCain had given a copy of the memos to the FBI on
    December 9. Ex. 1 [Compl.] Exs. 2-3; Ex. 40.
             62.       At approximately 9:09 p.m. Eastern time on January 10, BuzzFeed revised the
    Article by adding statements from President-elect Trump, Kellyanne Conway, and Michael
    Cohen denying the Dossier’s claims. Ex. 1 [Compl.] at Ex. 2.
             63.       Fusion and David Kramer were unhappy that BuzzFeed had published the
    Dossier, because they were concerned for the safety of Steele’s sources. Ex. 13 [Kramer Dep.] at
    66:17-67:3; Ex. 17 [Fusion Dep.] at 180:15-181:3. Shortly after publication, BuzzFeed redacted
    information pertaining to one source. Ex. 4 [Schoofs Decl.] ¶ 16. When Simpson and Fusion
    co-founder Peter Fritsch complained to Bensinger and then Smith that publishing the Dossier
    could endanger sources, Smith explained to them why he thought that “it was a clear matter of
    public and national interest” to publish “given that it been briefed to the President and President-
    elect.” Ex. 17 [Fusion Dep.] at 181:4-183:6. Fritsch thought “as the former national security
    editor of the Wall Street Journal, [Smith’s] not wrong about that. We would – I would have
    made the exact same argument.” Id. at 182:3-183:6.
             64.       Scores of other news organizations also immediately began to report on it. See,
    e.g., Exs. 42-48. Many included hyperlinks to the entire document on BuzzFeed’s website, see,
    e.g., Exs. 44, 48, 52, 57, and new reports analyzing in depth various portions of the document
    continue to be published to this date. See, e.g., Exs. 47-49, 41-43. Since January 10, 2017, the
    Dossier has also been the subject of extensive Congressional testimony, endless political debate,
    several published books, and remains central to the controversy over Russia and President
    Trump. See, e.g., Exs. 27-29, 36, 42-58.


    Dated: September 21, 2018                  Respectfully submitted,

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